                      Case: 25-1573
                    UNITED          Document:
                            STATES COURT  OF16   Page: 1FORDate
                                              APPEALS       THEFiled:
                                                                THIRD 04/11/2025
                                                                          CIRCUIT

                                          CIVIL APPEAL INFORMATION STATEMENT

COUNSEL FOR APPELLANT: This statement is due to be filed with the Clerk of the Court of
Appeals not later than 14 days from the docketing of the notice of appeal.

SHORT CAPTION WITH IDENTITY OF APPELLANT:
Atlas Data Privacy Corporation, et al. (Appellee) v. i360 LLC, et al. (Appellant)
___________________________________________________________________________________

APPEAL FROM DISTRICT COURT:
          District of New Jersey
District:____________________________________________________________________________
                     1:24-cv-04345-HB
D.C. Docket No.:_____________________________________________________________________
                                        March 28, 2024
Date proceedings initiated in D.C.:_______________________________________________________
                                  March 28, 2025
Date Notice of Appeal filed:____________________________________________________________
              25-1573
USCA No.:_________________________________________________________________________
___________________________________________________________________________________
                                             COUNSEL ON APPEAL
                 i360 LLC
Appellant(s):_______________________________________________________________________
                      Richard J.L. Lomuscio
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                       i360 LLC
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         richard.lomuscio@stinson.com
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For Appellee(s): *List only the names of parties and counsel who will oppose you on appeal
                  Rajiv D. Parikh; Jessica A. Merejo; Kathleen B. Einhorn of PEM Law LLP
Name of Counsel:____________________________________________________________________
Name of Party(ies):___________________________________________________________________
                    Atlas Data Privacy Corp., Jane Doe-1 and -2, Edwin Maldonado, Scott Maloney, Justyna Maloney, Patrick Colligan, Peter Andreyev, William Sullivan

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                  See attached addendum.
Name of Counsel:____________________________________________________________________
Name of Party(ies):___________________________________________________________________
Address:___________________________________________________________________________
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E-mail:_____________________________________________________________________________

Is this a Cross-Appeal?                  Yes        No ✔
Appeals Docket No.:__________________________________________________________________

Was there a previous appeal in case?        Yes        No ✔
If yes, Short Title:____________________________________________________________________
Appeals Docket No.:__________________________________________________________________
Citation, if reported:__________________________________________________________________
To your knowledge Case:   25-1573
                      is there       Document:
                               any case           16 orPage:
                                        now pending      about2to beDate  Filed:
                                                                     brought     04/11/2025
                                                                              before  this Court or any other
court or administrative agency which:
a) Arises from substantially the same case or controversy as this appeal?        Yes            No ✔
b) Involves an issue that is substantially the same, similar, or related to an issue in this appeal?
                                                                                 Yes ✔          No
If you answered yes to either “a” or “b” please provide:
              See attached addendum of consolidated cases.
Case Name:_________________________________________________________________________
D.C. Docket No.:_____________________________________________________________________
Court or Agency:_____________________________________________________________________
Docket Number:_____________________________________________________________________
Citation, if reported:__________________________________________________________________
___________________________________________________________________________________
                                            NATURE OF SUIT
                                         (Check as many as apply)

1. FEDERAL STATUTES                                          ASSAULT/DEFAMATION
   ANTITRUST                                                 PRODUCT LIABILITY/WARRANTY
   BANKRUPTCY                                                DIVERSITY
   BANKS & BANKING                                           OTHER Specify:______________________
   CIVIL RIGHTS
   COMMERCE, ROUTES, AND TARIFFS                          3. CONTRACTS
   COMMODITIES                                               ADMIRALTY/MARITIME
   COMMUNICATIONS                                            ARBITRATION
   CONSUMER PROTECTION                                       COMMERCIAL
   COPYRIGHT                                                 EMPLOYMENT
   PATENT                                                    INSURANCE
   TRADEMARK                                                 NEGOTIABLE DISBURSEMENTS
   ELECTION                                                  OTHER Specify:______________________
   ENERGY
   ENVIRONMENTAL                                          4. PRISONER PETITIONS
   FOIA FREEDOM OF INFORMATION                               CIVIL RIGHTS
   IMMIGRATION                                               VACATE SENTENCE 2255
   LABOR                                                     HABEAS CORPUS 2254
   OSHA                                                      HABEAS CORPUS 2241
   SECURITIES                                                MANDAMUS/PROHIBITION
   SOCIAL SECURITY                                           OTHER Specify:______________________
   TAX
   EQUAL ACCESS TO JUSTICE                                5. OTHER
   OTHER Specify:______________________                      FORFEITURE
                                                             CIVIL GRAND JURY
2. TORTS                                                     TREATY Specify:_____________________
   ADMIRALTY                                                               NJSA 56:8-166.1, et seq.
                                                           ✔ OTHER Specify:______________________


This is to certify that this civil appeal information statement was filed with the Clerk of the U.S. Court
of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of record this
11th day of ____________________,
_____           April                          25
                                            20_____  .
                     /s/ Richard J.L. Lomuscio
Signature of Counsel:_________________________________________________________________
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     ADDENDUM TO CIVIL APPEAL INFORMATION STATEMENT
                     (FOR NO. 25-1573)
Counsel on Appeal (cont. from page 1 of Civil Appeal Information Statement):

For Appellee(s):

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                        Samantha D. Parrish of Boies Schiller Flexner LLP
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Other Pending Cases (cont. from page 2 of Civil Appeal Information Statement):

Case Name:       Atlas Data Privacy Corp., et al v. We Inform, LLC, et al.
D.C. Docket No.: 1:24-cv-4037-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1555

Case Name:       Atlas Data Privacy Corp. et al. v. Infomatics, LLC, et al.
D.C. Docket No.: 1:24-cv-4037-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1556

Case Name:       Atlas Data Privacy Corp., et al v. The People Searchers, LLC
D.C. Docket No.: 1:24-cv-4045-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1557

Case Name:       Atlas Data Privacy Corp., et al v. Deluxe Corporation, et al.
D.C. Docket No.: 1:24-cv-4080-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1559

Case Name:       Atlas Data Privacy Corp., et al v. Quantarium Alliance, LLC
D.C. Docket No.: 1:24-cv-4098-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1560

Case Name:       Atlas Data Privacy Corp., et al v. Yardi Systems, Inc., et al.
Docket No.:      1:24-cv-4103-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1561

Case Name:       Atlas Data Privacy Corp., et al v. Digital Safety Products, LLC
D.C. Docket No.: 1:24-cv-4141-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1562
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Case Name:       Atlas Data Privacy Corp., et al v. Civil Data Research
D.C. Docket No.: 1:24-cv-04143-HB
Court or Agency: United States District Court for the District of New Jersey
Docket. No.:     25-1563

Case Name:       Atlas Data Privacy Corp., et al v. Scalable Commerce, LLC
D.C. Docket No.: 1:24-cv-04160-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1564

Case Name:       Atlas Data Privacy Corp., et al v. Labels & Lists, Inc.
Docket No.:      1:24-cv-4174-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1565

Case Name:       Atlas Data Privacy Corp., et al v. Innovis Data Solutions Inc.,
D.C. Docket No.: 1:24-cv-4176-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1566

Case Name:       Atlas Data Privacy Corp., et al v. Accurate Append, Inc.
D.C. Docket No.: 1:24-cv-4178-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1567

Case Name:       Atlas Data Privacy Corp., et al v. Zillow, Inc., et al.D.C.
Docket No.:      1:24-cv-04256-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1568

Case Name:       Atlas Data Privacy Corp., et al v. Equimine, Inc., et al.
Docket No.:      1:24-cv-04261 –HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1569

Case Name:       Atlas Data Privacy Corp., et al. v. Thomson Reuters Corp.
D.C. Docket No.: 1:24-cv-04269-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1570
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Case Name:       Atlas Data Privacy Corp., et al v. Melissa Data Corp., et al.
D.C. Docket No.: 1:24-cv-4292-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1571

Case Name:       Atlas Data Privacy Corp., et al v. Restoration of America, et al.
D.C. Docket No.: 1:24-cv-4324-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1572

Case Name:       Atlas Data Privacy Corp., et al v. i360, LLC, et al.
Docket No.:      1:24-cv-4345-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1573

Case Name:       Atlas Data Privacy Corp., et al v. GoHunt, LLC, et al.
D.C. Docket No.: 1:24-cv-04380-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1574

Case Name:       Atlas Data Privacy Corp., et al v. Accuzip, Inc.,
D.C. Docket No.: 1:24-cv-4383-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1575

Case Name:       Atlas Data Privacy Corp., et al v. Synaptix Technology, LLC
D.C. Docket No.: 1:24-cv-4385-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1576

Case Name:       Atlas Data Privacy Corp., et al v. Joy Rockwell Enter., Inc..
Docket No.:      1:24-cv-4389-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1577

Case Name:       Atlas Data Privacy Corp., et al v. Fortnoff Financial, LLC,
D.C. Docket No.: 1:24-cv-04390-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1578
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Case Name:       Atlas Data Privacy Corp., et al v. MyHeritage, Ltd., et al.
D.C. Docket No.: 1:24-cv-4392-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1579

Case Name:       Atlas Data Privacy Corp., et al v. E-Merges.com, Inc.
D.C. Docket No.: 1:24-cv-4434-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1580

Case Name:       Atlas Data Privacy Corp., et al v. Nuwber, Inc., et al.
Docket No.:      1:24-cv-04609-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1581

Case Name:       Atlas Data Privacy Corp., et al v. RocketReach LLC, et al.
D.C. Docket No.: 1:24-cv-4664-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1582

Case Name:       Atlas Data Privacy Corp., et al v. Belles Camp Comm., Inc.,
D.C. Docket No.: 1:24-cv-04949-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1583

Case Name:       Atlas Data Privacy Corp., et al v. PropertyRadar, Inc., et al.
D.C. Docket No.: 1:24-cv-5600-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1584

Case Name:       Atlas Data Privacy Corp., et al v. The Alesco Group, L.L.C.
Docket No.:      1:24-cv-5656-MB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1585

Case Name:       Atlas Data Privacy Corp., et al v. Searchbug, Inc.
D.C. Docket No.: 1:24-cv-05658-MB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1586
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Case Name:         Atlas Data Privacy Corp., et al. v. Amerilist, Inc., et al.
D.C. Docket No.:   1:24-cv-05775-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1587

Case Name:         Atlas Data Privacy Corp., et al. v. US Data Corporation, et al.
D.C. Docket No.:   1:24-cv-7324-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1588

Case Name:         Atlas Data Privacy Corp., et al. v. Smarty, LLC, et al.
Docket No.:        1:24-cv-8075-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1589

Case Name:         Atlas Data Privacy Corp., et al. v. Compact Inform. Sys., LLC
D.C. Docket No.:   1:24-cv-8451-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1590

Case Name:         Atlas Data Privacy Corp., et al. v. Darkowl, LLC, et al.
D.C. Docket No.:   1:24-cv-10600-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1591

Case Name:         Atlas Data Privacy Corp., et al. v. Spy Dialer, Inc.
D.C. Docket No.:   1:24-cv-11023-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1592

Case Name:         Atlas Data Privacy Corp., et al. v. Lighthouse List Co., LLC
D.C. Docket No.:   1:24-cv-11443-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1593
